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                         IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON



  UNITED STATES OF AMERICA,                             Case No. 3:12-cr-00169-SI

                                     Plaintiff,
                                                       ORDER GRANTING MOTION TO
                         v.                            REDUCE SENTENCE

  JACOB JUDSON TOLMAN,

                                  Defendant.

Simon, District Judge:

       This matter is before the Court on Defendant's Motion to Modify Sentence Pursuant to

18 U.S.C. § 3582(c)(2) (Amendment 782 Reduction) (ECF 43) and the Supplemental

Memorandum (ECF 49) raising an additional ground for sentence reduction pursuant to 18

U.S.C. § 3582(c)(l)(A)(i), commonly refe1Ted to as compassionate release.

       The Court is advised that the government does not oppose a sentence reduction on the

latter ground based on Defendant's medical conditions and the COVID-19 pandemic. The Comi

has considered the filings to date and the agreement of the patties, and after full consideration of

the relevant factors under 18 U.S.C. § 3553(a), the Comi finds that extraordinary and compelling

reasons wmTant a reduction of defendant's sentence to time served, effective ten days after the

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entry of the amended judgment. The te1m of imprisonment shall be followed by a four-year term

of supervised release, with the conditions previously set f01th in the amended judgment and the

following additional conditions: (1) the defendant must reside at and pa1ticipate in the program

of a residential reentry center for not more than 120 days, to be released at the direction of the

probation officer, and (2) upon release from the residential reentry center, the defendant shall

remain on home confinement for a period of six months, at the direction of the probation officer.

        The Comt concludes that the defendant's release pursuant to this order will not pose a

danger to any other person or the community. This sentence reduction is consistent with the

cmTently applicable U.S . Sentencing Commission policy statements.

        IT IS HEREBY ORDERED that the pmties' Joint Motion to Reduce Sentence is

GRANTED and an amended judgment and commitment order shall be prepared and entered

fo1thwith in accordance with this decision. The amended judgment shall not become effective

until ten days after it is entered on the docket.

        Dated this 16th day of October, 2020.



                                          ~     United States District Judge




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